                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                              No. CR08-4006-MWB
 vs.                                                   DETENTION ORDER
 DOUGLAS DEAN JOHNSON,
                Defendant.
                                 ____________________


         This matter came on for detention hearing on January 30, 2008. Assistant U.S.
Attorney Kevin Fletcher appeared on behalf of the plaintiff (the “Government”). The
defendant Douglas Dean Johnson appeared in person with his attorney, Douglas Roehrich.
The Government offered the testimony of Lieutenant Randall Kramer of the O’Brien
County Sheriff’s Office.
         The court must determine whether any condition or combination of conditions will
reasonably assure Johnson’s appearance as required, as well as the safety of any other
person and the community, in deciding whether to grant the Government's motion for
detention. 18 U.S.C. § 3142(e). A defendant may be detained based on a showing of
either dangerousness or risk of flight; it is not necessary to show both. United States v.
Apker, 964 F.2d 742, 743 (8th Cir. 1992); United States v. Sazenski, 806 F.2d 846,848
(8th Cir. 1986).
         The court is to presume that no condition or combination of conditions will
reasonably assure the appearance of Johnson as required and the safety of the community
if the court finds there is probable cause to believe Johnson committed an offense of the
type identified in 18 U.S.C. § 3142(e) for which a maximum term of imprisonment of ten
years or more is prescribed by law. 18 U.S.C. § 3142(e); see 18 U.S.C. § 3142(f)(1).
The probable cause element of section 3142(e) that triggers the rebuttable presumption of


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risk of flight and danger to the community may be established through evidence presented
at the detention hearing of an offense which is subject to the rebuttable presumption. See
Apker, 964 F.2d at 744; United States v. Dorsey, 852 F.2d 1068, 1069 (8th Cir. 1988).
       In the present case, the record indicates Johnson has been manufacturing substantial
amounts of methamphetamine on a regular basis for a number of years. He also has
involved others in his activities by having others purchase pseudoephedrine pills and other
items used in the manufacturing process, and trading methamphetamine for those items.
Numerous cooperating witnesses have given statements about Johnson’s activities, and
about the purity of the methamphetamine he manufactured.
       Although it appears Johnson may have stopped his own drug usage and begun
working at a good job several months ago, he only did so after he was arrested in July
2007. Johnson has failed to offer any evidence to rebut the presumption that he is a danger
to the community. The presumption arises from the charge itself – a serious drug charge
involving the possession with intent to distribute a significant quantity of methampheta-
mine. See United States v. Cox, 635 F. Supp. 1047, 1055 (D. Kan. 1986) (citing United
States v. Fortna, 769 F.2d 243, 247 (5th Cir. 1985). Viewing the record as a whole, the
court finds nothing to indicate Johnson would be able to refrain from continuing to engage
in criminal activities if he were released. In addition, Johnson is facing a lengthy prison
term that could result in him spending the rest of his life in prison.
       For these reasons, the court finds the Government has proved by a preponderance
of the evidence that Johnson is a flight risk, and by clear and convincing evidence that
Johnson would be a danger to the community if released. Therefore, the court finds the
following:
       1.     Johnson is committed to the custody of the Attorney General for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal.


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      2.      The Attorney General shall afford Johnson reasonable opportunity for private
consultation with counsel while detained.
      3.      On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver Johnson to the
United States Marshal for the purpose of an appearance in connection with a court
proceeding.
      4.      If a “review” motion for revocation or amendment is filed, pursuant to 28
U.S.C. § 3145(a) or (b), the party requesting a change in the original order must:
              (a)    Attach a copy of the release/detention order to the appeal;
              (b)    Promptly secure a transcript.
      5.      There is no automatic stay of this Order. Therefore, Johnson must request
such relief from the court.
      IT IS SO ORDERED.
      DATED this 30th day of January, 2008.




                                          PAUL A. ZOSS
                                          CHIEF MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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